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8                           UNITED STATES DISTRICT COURT

9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                 SOUTHERN DIVISION

11   UNITED STATES OF AMERICA,               No. SA CR 15-142-JLS

12             Plaintiff,                    PERSONAL MONEY JUDGMENT OF
                                             FORFEITURE
13                   v.

14   MITCHELL G. COHEN,

15             Defendant.

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1         Pursuant to the Stipulation and request of the parties filed in

2    this matter on February 23, 2018, the Court hereby finds and orders

3    as follows:

4         1.    On January 26, 2016, defendant entered into a plea

5    agreement in the case captioned United States v. Mitchell G. Cohen,

6    No. SA CR 15-142-JLS.     (CR 7.)

7         2.    Pursuant to paragraph four of his plea agreement, defendant

8    agreed to forfeit all “right title, and interest” in assets “derived

9    from or acquired as a result of, or used to facilitate the commission

10   of, defendant’s illegal activities.”        (CR 7 at ¶ 4.)    Defendant

11   further agreed “[t]o the Court’s entry of an order of forfeiture, in

12   an amount not to exceed $1,645,225, at or before sentencing with

13   respect to these assets and to the forfeiture of the assets.”            (Id.

14   at ¶ 4.)   Defendant also admitted in his plea agreement to receiving

15   this amount of criminal proceeds.       (Id. at ¶ 16.)

16        3.    The entry of a judgment of forfeiture is specifically

17   authorized by Rule 32.2 of the Federal Rules of Criminal Procedure

18   and is part of the defendant’s sentence.        Rule 32.2(c)(1) provides

19   that “no ancillary proceeding is required to the extent that the

20   forfeiture consists of a money judgment.”

21        4.    Pursuant to the stipulation, defendant expressly waived the

22   requirements of Federal Rules of Criminal Procedure 32.2. and 43(a)

23   regarding notice of forfeiture in the charging instrument,

24   pronouncement of forfeiture at sentencing, and incorporation of

25   forfeiture in the personal money judgment of forfeiture.           Defendant

26   further agreed to immediate entry of the Judgment, and that the

27   personal money judgment of forfeiture shall become final as to him

28   upon entry.
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1           5.   A personal money judgment of forfeiture in the amount of

2    $1,645,225.00 is HEREBY ENTERED in favor of the United States of

3    America against defendant Mitchell G. Cohen.

4           6.   This personal money judgment of forfeiture is part of the

5    sentence imposed on defendant in this case.

6           7.   This Court shall retain jurisdiction for the purpose of

7    enforcing this personal money judgment of forfeiture.           The government

8    shall notify the Court upon defendant’s satisfaction of his

9    obligations under this judgment.

10          IT IS SO ORDERED.

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12   March 02, 2018

13   DATE                                   HONORABLE JOSEPHINE L. STATON
                                            UNITED STATES DISTRICT JUDGE
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